Case 6:18-bk-20326-WJ   Doc 12 Filed 02/15/19 Entered 02/15/19 13:08:04   Desc
                         Main Document     Page 1 of 4
Case 6:18-bk-20326-WJ   Doc 12 Filed 02/15/19 Entered 02/15/19 13:08:04   Desc
                         Main Document     Page 2 of 4
Case 6:18-bk-20326-WJ   Doc 12 Filed 02/15/19 Entered 02/15/19 13:08:04   Desc
                         Main Document     Page 3 of 4
Case 6:18-bk-20326-WJ   Doc 12 Filed 02/15/19 Entered 02/15/19 13:08:04   Desc
                         Main Document     Page 4 of 4
